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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND

                                         :
JESSE HAMMONS
                                         :

     v.                                  :   Civil Action No. DKC 20-2088

UNIVERSITY OF MARYLAND MEDICAL           :
SYSTEM CORPORATION, et al.
                                         :

                               MEMORANDUM OPINION

     Presently pending and ready for resolution is a motion to

seal filed by Defendants University of Maryland Medical System

Corporation       (“UMMS”),    UMSJ   Health   System,    LLC     (“UMSJ”),      and

University    of    Maryland    St.   Joseph   Medical    Center,      LLC   (“St.

Joseph”) (collectively, “Defendants”).           (ECF No. 123).        The issues

have been fully briefed, and the court now rules, no hearing being

deemed necessary.       Local Rule 105.6.       For the following reasons,

Defendant’s motion to seal will be granted in part and denied in

part.

     As outlined in a previous opinion, (ECF No. 121), Local Rule

105.11 requires that motions to seal “include (a) proposed reasons

supported    by    specific    factual   representations         to   justify    the

sealing and (b) an explanation why alternatives to sealing would

not provide sufficient protection.”              When the motion to seal

involves “documents filed in connection with a summary judgment

motion in a civil case,” as is the case here, a “more rigorous
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First     Amendment     standard”     applies,        as    “summary        judgment

adjudicates substantive rights and serves as a substitute for a

trial.”    Rushford v. New Yorker Magazine, Inc., 846 F.2d 249, 252-

53 (4th Cir. 1988).      The First Amendment requires that they remain

unsealed except “on the basis of a compelling . . . interest, and

only if [the sealing] is narrowly tailored to serve that interest.”

Stone v. Univ. of Md. Med. Sys. Corp., 855 F.2d 178, 180 (4th Cir.

1988).

     In ruling on a motion to seal, a court must

            weigh the appropriate competing interests
            under the following procedure: it must give
            the public notice of the request to seal and
            a reasonable opportunity to challenge the
            request; it must consider less drastic
            alternatives to sealing; and if it decides to
            seal it must state the reasons (and specific
            supporting findings) for its decision and the
            reasons for rejecting alternatives to sealing.

Va. Dep’t of State Police v. Washington Post, 386 F.3d 567, 576

(4th Cir. 2004), cert. denied, 544 U.S. 949 (2005).

     Defendants       originally    moved    to    seal    in      their    entirety

Exhibits 2, 7, and 13 to their motion for summary judgment (along

with other documents).        (ECF No. 100).          This court denied that

motion    without     prejudice,    noting   that     Defendants       could       file

another motion to seal certain portions of those documents but

must provide clearly substantiated bases for doing so.                     (ECF No.

121 at 54).   Defendants have now moved to file portions of Exhibits

2, 7, and 13 under seal and redacted copies publicly.                      Exhibit 2

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is the Asset Purchase Agreement, Exhibit 7 is the Catholic Identity

Agreement, and Exhibit 13 is St. Joseph’s Operating Agreement.

Plaintiff opposes the motion only as to certain portions of each

document.       No other objections have been filed—neither as to

Defendants’ original motion to seal these documents, which they

filed along with their motion for summary judgment in June 2022,

nor as to their renewed motion, filed more than one month ago.

        I.    Asset Purchase Agreement (Exhibit 2)

        Defendants seek to file much of the Asset Purchase Agreement

under seal, but they have left unredacted all portions of the

document that this court referenced in its opinion regarding the

parties’ cross-motions for summary judgment.                      Defendants argue

that    the   portions     they   seek     to   redact     “contain    confidential

business      information       that   .    .   .   would       competitively        harm

Defendants”       if     disclosed,        “including      by     freely     offering

prospective buyers or sellers confidential information about the

company.”      (ECF No. 123 at 5).

        Plaintiff opposes the redaction of Sections 11.6, 12.16,

12.17, 12.18, and 12.19 as well as Exhibits F and G to the Asset

Purchase Agreement.         (ECF No. 125 at 1).            Those portions of the

document generally relate to (1) the relationships between the

Defendants and (2) their obligations, per the Asset Purchase

Agreement,      to     comply   with     the    Catholic    directives.         In      a

declaration attached to Defendants’ reply, the Vice President and

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Deputy General Counsel of UMMS, Adil Daudi, attests that those

portions of the Asset Purchase Agreement contain information about

“the    manner   in    which    St.    Joseph’s        Board    operates        and   makes

decisions[] and its future business plan and goals,” which “would

give     competitors    insight       into       how   St.   Joseph      functions      and

designates its resources.”            (ECF No. 129-1 at 4).              Mr. Daudi adds

that Exhibit F, if made publicly available, “would give any UMMS

potential acquisition target a negotiating advantage against UMMS

as it reveals terms UMMS is willing to agree to when acquiring

another entity,” and Exhibit G “would allow competitors insight

into the day-to-day workings of St. Joseph that they should not

have nor were ever intended to have.”

        Defendants have left unredacted all portions of the Asset

Purchase Agreement that this court relied on in its opinion, and

the portions they propose to redact are largely unrelated to the

issues in this case.            To the extent that some of the portions

Plaintiff references touch upon issues that were part of this case,

the precise language in those portions would do little to enhance

the public’s understanding of the basis for this court’s decision.

The relationships between the Defendants and their obligations to

comply with the Catholic directives, as relevant to this case, are

well established by the portions of this document and others that

are publicly available.          Defendants’ reasons for sealing, although

still     somewhat     opaque,    are    compelling,           and      their    proposed

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redactions are an appropriate alternative to sealing the document

in its entirety that does not unduly infringe on the public’s right

of access.      Accordingly, their motion to seal will be granted as

to the Asset Purchase Agreement.

       II.   Catholic Identity Agreement (Exhibit 7)

       Defendants     seek     to     redact     significant         portions      of    the

Catholic     Identity       Agreement,      including          all   of    the   exhibits

attached thereto.          They have left unredacted all portions cited by

this court in its opinion and argue that publicly disclosing

portions they seek to redact “would give St. Joseph’s competitors

otherwise     confidential          information     regarding         how    St.    Joseph

operates, giving them a competitive advantage.”                          (ECF No. 123 at

6-7).        They    add    that     the    document          contains     “confidential

information”        related    to     the       Roman     Catholic        Archbishop     of

Baltimore, who is not a party to this case.

       Plaintiff opposes the sealing of any portion this agreement,

arguing that “the entirety of the Catholic Identity Agreement

reflects Defendants’ commitment to enforce the ERDs at St. Joseph

and details their means for doing so,” which is “at the very

center” of the lawsuit.            (ECF No. 125 at 1, 5).            They also oppose

the redaction of certain exhibits to the agreement—exhibit 3.1(1)

and     portions     of     exhibits       2.1(2)       and    3.1(2)—which        contain




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information related to the relationship between the Defendants and

their obligations to comply with the Catholic directives. 1

       In his declaration, Mr. Daudi notes that the Catholic Identity

Agreement “details the inner workings of St. Joseph, including its

committees, charity care, use of Catholic symbols, and financial

commitments to the Archdiocese of Baltimore.”             (ECF No. 129-1 at

5).    He highlights the fact that the Catholic Identity Agreement

is not publicly available and asserts that allowing public access

“could allow competitors to unfairly take advantage of the terms

that Defendants must abide by with the Archdioceses [of Baltimore]”

and “provide competitors with unfair insight, that they would not

otherwise have, into how St. Joseph operates and its commitments

to the Church.”       As for the exhibits, Mr. Daudi attests to the

fact that the information therein could “give competitors insight

into how the organizations function individually and together,

including actions that require the approval of UMMS, debt limits

for the companies, caps on the transfer of assets or acquisitions,

the creation of educational programs, and the transfer of assets

between UMMS entities,” which he described as “highly competitive

information.”




       Plaintiff also opposes the redaction of exhibits 1.1 and
       1

2.1(1). However, exhibit 1.1, which is the Ethical and Religious
Directives for Catholic Health Care Services, does not contain the
actual directives (they are publicly available online), and
Defendants have not sought to redact exhibit 2.1(1).
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        Defendants’    reasons      for      sealing     the   Catholic       Identity

Agreement are not specific or compelling enough to satisfy the

requirements of the Local Rules, let alone the First Amendment.

It is entirely unclear, based on the vague representations made,

what     sort   of   “unfair”     “competitive        advantage”      any    potential

competitors of Defendants could achieve based on the portions of

the Catholic Identity Agreement they seek to file under seal.

Additionally, the fact that parties to an agreement consider it

“confidential” is an insufficient justification for sealing it.

See    Sensormatic    Sec.      Corp.   v.       Sensormatic   Elecs.       Corp.,   455

F.Supp.2d 399, 438 (D.Md. 2006).                    While this court’s summary

judgment opinion did not specifically rely on portions of the

Catholic Identity Agreement that Defendants propose to redact, the

Agreement as a whole is relevant enough to the issues raised in

the opinion such that Defendants needed to provide a compelling

reason to redact them.          They have failed to do so.

        The analysis is different, however, for the exhibits to the

Catholic Identity Agreement.              The reasons provided by Mr. Daudi

are more specific and compelling, and those exhibits, which include

a former operating agreement and articles of organization, are

less relevant to the issues raised in this case.                        Accordingly,

Defendants’ motion is denied as to the Catholic Identity Agreement

itself (pages 1-16) but granted as to the exhibits thereto that

they seek to file under seal (pages 22-81).

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       III. St. Joseph’s Operating Agreement (Exhibit 13)

       Finally, Defendants seek to redact significant portions of

St.    Joseph’s       Operating    Agreement.           They     argue    that       public

disclosure      of    those    portions     of    the    document,       which    contain

“internal policies, practices, and obligations of St. Joseph,”

would “give competitors confidential information regarding the

company” that they could use “to operate or market against St.

Joseph.”       (ECF No. 123 at 7).

       Plaintiff only opposes the redaction of Sections 3.01, 3.03,

part of 3.05, 3.06, 5.09, 5.11, part of 6.06, and 6.09.                          (ECF No.

125 at 2).        Those sections contain information relating to the

extent    of    UMMS’s      control   over       St.    Joseph    and    St.     Joseph’s

obligations      to    comply     with    Catholic       directives.           Mr.   Daudi

reiterates      in    his     declaration       that    the    Operating     Agreement,

including the portions Plaintiff references, “details how St.

Joseph operates relative to UMMS with regard to contributions,

affiliations, compensation, debt, transfer of assets, and other

topics[,] [and] explains how the Board is selected and functions,

including the length of Board members’ terms and other information

that is not relevant to this lawsuit,” which “would give other

competitors insight into how St. Joseph functions, how it interacts

with UMMS, and where it places its priorities and resources,

thereby providing such competitors with an unfair advantage over

St. Joseph.”         (ECF No. 129-1 at 6).

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     Part of what Defendants seek to redact was referenced by this

court in its opinion: pages 6-8, 10-11, and 23.              (ECF No. 121 at

5, n.4).   Defendants have only proposed to redact parts of those

pages, but absent a more compelling justification for redacting

those specific portions, those pages (Sections 3.01-3.03, 3.05,

and the portion of 6.06 on page 23) should be fully unredacted to

allow the public to review the materials upon which the court

relied in making its decision.      Defendants have met their burden

as to the other portions of the document: Those portions are less

directly relevant to the issues in this case and are more closely

related to the inner workings of St. Joseph, such that Defendants

have a compelling interest to protect them from public view.

Accordingly, Defendants’ motion will be denied as to pages 6-8,

10-11, and the last paragraph of page 23 but granted as to the

remaining portions that they seek to redact. 2




     2 Local Rule 105.11 provides that if a motion to seal is
denied, the party making the filing will be given an opportunity
to withdraw the materials. Because this court relied on Exhibits
7 and 13 in its summary judgment opinion, it would be impractical
at this point to consider allowing Defendants to withdraw those
exhibits.
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     IV.   Conclusion

     For the foregoing reasons, Defendants’ motion to seal will be

granted in part and denied in part.        Defendants are directed to

file publicly newly redacted versions of Exhibits 7 and 13 that

conform with this opinion.     Once they do so, a final judgment can

be entered pursuant to the parties’ stipulation regarding damages.

A separate order will follow.



                                                  /s/
                                        DEBORAH K. CHASANOW
                                        United States District Judge




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